                       UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                                No. 5:20-CR-180-D(2)

UNITED STATES OF AMERICA,                 )
                                          )
      v.                                  )      ORDER TO SEAL
                                          )       (Under Seal)
TIERA NICOLE GARDNER                              )

      Upon motion of the United States, it is hereby ORDERED that Docket Entry

96 be sealed.

       It is FURTHER ORDERED that the Clerk provide      a filed copy of the Order to
the United States Attorney's Office and Counsel for the Defendant.

      This the ..1__ day of Q Ctob.LA..       , 2021.




                                 United States District Judge




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